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 2   District of Arizona
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 4
     JAMI JOHNSON
 5   New York State Bar # 4823373
     Asst. Federal Public Defender
 6   Attorney for Defendant
     jami_johnson@fd.org
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                                DISTRICT OF ARIZONA
10
     United States of America,                         No. 2:20-mj-08217-JZB
11
                  Plaintiff,
12                                                  MOTION TO CONTINUE
           vs.                                     PRELIMINARY HEARING,
13                                                DETENTION HEARING AND
     Jill Marie Jones,                            CONTINUATION OF INITIAL
14                                               APPEARANCE ON JULY 27, 2020
                  Defendant.
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17         Defendant Jill Marie Jones, through undersigned counsel, respectfully
18   moves this Court for an order continuing the preliminary hearing, detention hearing
19   and continuation of initial appearance in the above matter currently set July 27,
20   2020, at 2:00 p.m., before Magistrate Judge Eileen S. Willett, for one week. The
21   basis for this continuance is defense counsel’s ongoing inability to communicate
22   with Ms. Jones owing to limited communication capacity at the CoreCivic facility
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     where Ms. Jones is housed.
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           To date, undersigned counsel has been provided only one 15-minute phone
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     call with Ms. Jones at 10:00 a.m. on July 23, 2020 at which point undersigned
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 1   counsel had not been provided with a copy of the charging document and was

 2   unaware of what criminal conduct Ms. Jones had allegedly engaged in and could
 3   therefore not apprise Ms. Jones of the reason for her arrest. Counsel did not receive
 4   a copy of the charging document until approximately 11:45 a.m.
 5         Immediately following the July 23, 2020 court date, undersigned counsel
 6   contacted the facility where Ms. Jones is housed to inquire about setting up a call
 7   with Ms. Jones to discuss her case. As the court is aware, in-person visits to the
 8   facility have been barred for public health reasons, and limited phone lines are
 9   available for attorney-client calls. Undersigned counsel was informed that no call
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     times were available until July 28, 2020, at the earliest. It does not therefore appear
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     possible that counsel will be able to speak with Ms. Jones in advance of the date
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     currently set for her hearings and therefore requests that those hearings be
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     continued by one week so that counsel can have the opportunity to consult with
14
     Ms. Jones and to discuss with her the charges before the hearings.
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           Undersigned counsel has been in contact with the Assistant United States
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     Attorney assigned to this case, Lisa Jennis, who indicates that the government
17
18   makes no objection to the requested continuance. Excludable delay is not expected

19   to result from this motion or from an order based thereon.
20                Respectfully submitted: July 24, 2020.
21                                           JON M. SANDS
                                             Federal Public Defender
22
23                                            s/Jami Johnson
24                                           JAMI JOHNSON
                                             Asst. Federal Public Defender
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